Case 2:23-cv-20964-SRC-MAH    Document 134     Filed 03/14/25   Page 1 of 1 PageID:
                                    3506

              United States Court of Appeals
                  for the Federal Circuit
                             ______________________

                   TEVA BRANDED PHARMACEUTICAL
                     PRODUCTS R&D, INC., NORTON
                       (WATERFORD) LTD., TEVA
                     PHARMACEUTICALS USA, INC.,
                          Plaintiffs-Appellants

                                       v.

              AMNEAL PHARMACEUTICALS OF NEW YORK,
                LLC, AMNEAL IRELAND LTD., AMNEAL
                 PHARMACEUTICALS LLC, AMNEAL
                      PHARMACEUTICALS, INC.,
                         Defendants-Appellees
                        ______________________

                                   2024-1936
                             ______________________

                Appeal from the United States District Court for the
            District of New Jersey in No. 2:23-cv-20964-SRC-MAH,
            Judge Stanley R. Chesler.
                            ______________________

                                  MANDATE
                             ______________________

               In accordance with the judgment of this Court, entered
            December 20, 2024, and pursuant to Rule 41 of the Federal
            Rules of Appellate Procedure, the formal mandate is
            hereby issued.


                                                  FOR THE COURT




            March 14, 2025
                Date
